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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   REBECCA CARTEE-HARING                                           CIVIL ACTION

   v.                                                              NO. 20-1995
   CENTRAL BUCKS SCHOOL DISTRICT

   DAWN MARINELLO,                                                 CIVIL ACTION
   individually and on behalf of similarly
   situated female employees,                                      NO. 21-2587

   v.

   CENTRAL BUCKS SCHOOL DISTRICT

                                                          ORDER

         AND NOW this 23rd day of July, 2024, it is ORDERED that the attached Report and

Recommendation by Special Master Shira Yoshor, Esquire regarding Federal Rule of Evidence

1006 is approved.

                                                           BY THE COURT:

                                                           /s/ Michael M. Baylson
                                                           _                           _____
                                                           MICHAEL M. BAYLSON
                                                           United States District Court Judge



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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF
                                     PENNSYLVANIA

REBECCA CARTEE-HARING,                               No. 2:20-cv-01995-MMB
                     Plaintiff,
    vs.


CENTRAL BUCKS SCHOOL DISTRICT,
                     Defendant.



DAWN MARINELLO, individually and                     No. 2:21-cv-02587-MMB
on behalf of similarly situated female employees,

                     Plaintiffs,
      vs.

CENTRAL BUCKS SCHOOL DISTRICT,
                     Defendant.


               REPORT AND RECOMMENDATION OF SPECIAL MASTER
                   REGARDING PROPOSED SUMMARY CHARTS
                    TO BE OFFERED AS EVIDENCE AT TRIAL


                This matter comes before the Special Master, by the Order of the Court dated

June 13, 2024, (Dkt. 171) regarding appointment of the undersigned to review and report on

the proposed use of summary charts. Each side has requested to use charts to summarize

evidence including details regarding when Plaintiffs and employees of Central Bucks School

District were hired, their years of experience, and where they were placed under the Defendant

Central Bucks School District’s Guidelines.

          Under Federal Rule of Evidence 1006, “The proponent may use a summary, chart, or

calculation to prove the content of voluminous writings, recordings, or photographs that cannot

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be conveniently examined in court. The proponent must make the originals or duplicates

available for examination or copying, or both, by other parties at a reasonable time and place.

And the court may order the proponent to produce them in court.”

        As explained by the late Judge Pratter in Su v. E. Penn Mfg. Co., No. CV 18-1194,

2023 WL 2796120, at *4–5 (E.D. Pa. Apr. 5, 2023), “To have a summary admitted, the

proponent of a summary must lay a proper foundation and show that the summation is

accurate.” Id., citing United States v. Malik, 424 F. App'x 122, 128 (3d Cir. 2011). Decisions

regarding the admissibility of Rule 1006 evidence are within the broad discretion of the trial

court. United States v. Bansal, 663 F.3d 634, 668 (3d Cir. 2011).

        Other courts in this Circuit have clarified that “[a] Rule 1006 summary chart need not

accurately reflect all the facts in the case; it merely must accurately represent the facts that it

purports to summarize.” United States v. Lynch, 735 F. App'x 780, 786 (3d Cir.

2018) (emphasis added). “So long as they are accurate, however, such summaries may present

only one party's side of the case.” 2 McCormick on Evid. § 241 (7th ed.). The fact that one

party’s proposed summary may not include all the related information does not undermine its

admissibility as long as it accurately reflects the information it does include. On cross-

examination, the other party may show the jury that there is more to the story. See Lynch, 735

F. App'x at 787 (citing also United States v. Nivica, 887 F.2d 1110, 1125–26 (1st Cir. 1989))

to support its conclusion that that summaries’ failure to reflect “total financial activity”

“affect[s] ... weight rather than the admissibility” and that “if there were gaps in the charts, the

defense ... had every opportunity to exploit them”).

        The parties in this case met several times and have agreed that the factual information

contained in the summary charts proposed as P. Ex. 1 and D. Ex. 509 are based on data that

has been verified. The parties agree that these charts are accurate. If the parties had to submit

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the underlying evidence rather than the summary charts, it would take volumes of exhibit

binders and hundreds, if not thousands, of hours of testimony. The presentation of these

summary charts is both efficient and accurate, which meets the directives of Federal Rule of

Evidence 1006.

                                          CONCLUSION

        For these reasons, the undersigned recommends that the Court grant admission of P.

Ex. 1 and D. Ex. 509 (not attached).


        Signed this 22nd day of July, 2024.




                                       ________________________________
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SERVED ON COUNSEL OF RECORD:

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